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Counsel for Vigor Works LLC

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------X
                                                                      :   Chapter 7
 In re:                                                               :
                                                                      :   Case No. 22-10123 (MG)
 BMT DESIGNERS & PLANNERS, INC., fdba                                 :
 BMT D&P, fdba BMA fdba BMT DAS US,                                   :
                                                                      :   NOTICE OF APPEARANCE
                                     Debtor.                          :
                                                                      :
----------------------------------------------------------------------X

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

        PLEASE TAKE NOTICE that the undersigned counsel, Michael J. Gearin of K&L Gates

LLP, a member of this Court in good standing, respectfully enters his appearance as counsel of

record for Vigor Works LLC

        NOTICE IS FURTHER GIVEN, that pursuant Rule 2002 to the Federal Rules of

Bankruptcy Procedure, it is requested that all notices given or required to be given in this action,

including but not limited to all papers filed and served in this action, be given to and served upon:

                                            K&L GATES LLP
                                     925 Fourth Avenue, Suite 2900
                                        Seattle, WA 98104-1158
                                         Attn.: Michael J. Gearin
                                      Telephone: (206) 623-7580
                                   E-mail: michael.gearin@klgates.com

        NOTICE IS FURTHER GIVEN, that the foregoing request includes not only notices and

papers referred to in Rule 2002 of the Federal Rules of Bankruptcy Procedure, but also includes,

without limitation, orders and notices of applications, motions, petitions, pleadings, requests,
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complaints or demands, whether transmitted or conveyed by mail, hand delivery, telephone,

telegraph, telex, or otherwise.

       The filing of this appearance shall not waive any defenses or arguments that may be

available to Vigor Works LLC.

       Any and all defenses and/or arguments available to Vigor Works LLC, are hereby

expressly reserved.

Dated: July 16, 2024

                                          K&L GATES LLP


                                          /s/ Michael J. Gearin
                                          Michael J. Gearin
                                          925 Fourth Avenue
                                          Suite 2900
                                          Seattle, WA 98104-1158
                                          Telephone: (206) 623-7580
                                          E-mail: michael.gearin@klgates.com
                                          Attorneys for Vigor Works LLC




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